             Case 5:20-cv-00454-JGB-KK Document 20 Filed 11/02/20 Page 1 of 2 Page ID #:264


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                     9                              UNITED STATES DISTRICT COURT
                    10                            CENTRAL DISTRICT OF CALIFORNIA
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                    12    FRANK ARROYO, an individual,              Case No. 5:20-cv-00454-JGB-KK
                    13                           Plaintiff,         DEFENDANT GENERAL
                                                                    MOTORS LLC’S NOTICE OF
                    14                     vs.                      SETTLEMENT
                    15    GENERAL MOTORS LLC, a Delaware
                          Limited Liability Company; DARRYL
                    16    BREWSTER, an individual; and DOES
                          1 through 25, inclusive,
                    17
                                                 Defendants.
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MORGAN, LEWIS &
 BOCKIUS LLP
 ATTORNEYS AT LAW
   LOS ANGELES
                         DB2/ 39765718.1
             Case 5:20-cv-00454-JGB-KK Document 20 Filed 11/02/20 Page 2 of 2 Page ID #:265



                     1             TO THE COURT, AND ALL PARTIES AND THEIR COUNSEL OF
                     2    RECORD:
                     3        PLEASE TAKE NOTICE THAT, pursuant to agreement of Plaintiff Frank
                     4    Arroyo and Defendant General Motors LLC (collectively, the “Parties”), the above-
                     5    captioned matter has been resolved. The Parties anticipate filing a Stipulation of
                     6    Dismissal within 60 days.
                     7    Dated: November 2, 2020                     MORGAN, LEWIS & BOCKIUS LLP
                     8                                                By     /s/ Kathy H. Gao
                                                                           KATHY H. GAO
                     9                                                     Attorney for Defendant
                                                                           GENERAL MOTORS LLC
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